            Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 1 of 25



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7

8                                 UNITED STATES DISTRICT COURT
9                               NORTHERN DISTRICT OF CALIFORNIA
10
     Rosemary D’Augusta, Brenda Davis, Pamela             Case No:
11
     Faust, Carolyn Fjord, Donald C. Freeland,
12   Donald Frye, Gabriel Garavanian, Valarie             COMPLAINT FOR VIOLATIONS OF
     Jolly, Michael Malaney, Lenard Marazzo,              SECTIONS 1 AND 2 OF THE SHERMAN
13   Lisa McCarthy, Timothy Nieboer, Deborah              ANTITRUST ACT (15 U.S.C. §§ 1 AND 2)
     Pulfer, Bill Rubinsohn, Sondra Russell, June         AND VIOLATION OF SECTION 7 OF THE
14                                                        CLAYTON ANTITRUST ACT (15 U.S.C. §
     Stansbury, Clyde Duane Stensrud, Gary                18)
15   Talewsky, Pamela Ward, Christine M
     Whalen, Mary Katherine Arcell, Jose Brito,           DEMAND FOR JURY TRIAL
16   Jan-Marie Brown, and Jocelyn Gardner,

17                Plaintiffs,

18          vs.

19   American Petroleum Institute, Exxon Mobil
     Corporation, Chevron Texaco Capital
20   Corporation, Phillips 66 Company,
     Occidental Petroleum Corporation, Devon
21
     Energy, Energy Transfer LP, Hilcorp
22   Energy, and Continental Resources Inc., et al.

23                  Defendants.

24

25          1. The Plaintiffs allege that the Defendants combined and conspired between and
26
       among themselves and with Saudi Arabia and Russia to raise the price of oil and gasoline.
27
       They did what they combined and conspired to do.
28

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                                  Complaint for Violation of the Sherman Act
          Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 2 of 25



1                                            PROLOGUE
2         2. The United States is the largest producer of oil in the world. Saudi Arabia is the
3
     second largest producer of oil in the world. Russia is the third largest producer of oil in the
4
     world.
5
          3. Exxon Mobil is the largest oil company in the United States. Chevron Texaco is
6

7    the second largest oil company in the United States. Phillips 66 is the third largest oil

8    company in the United States.

9         4. OPEC is the acronym for Organization of Petroleum-Exporting Countries. OPEC
10   was formed in 1961 to coordinate a common conduct for the production and sale of oil and
11
     fuel products. Its members are Algeria, Angola, Indonesia, Iran, Iraq, Kuwait, Libya,
12
     Nigeria, Qatar, Saudi Arabia, the United Arab Emirates, and Venezuela. Saudi Arabia is by
13
     far the largest member of OPEC. OPEC is an international cartel. It operates throughout the
14

15   world. It exercises the power to control the production and price of oil and other fuel

16   products for its members. OPEC influences the price of oil and gasoline on a worldwide

17   basis.
18
          5. OPEC+ is the acronym for all twelve OPEC members plus Russia.
19
          6. API is the acronym for the American Petroleum Institute, the trade association for
20
     the American oil producers, and provides a convenient forum for oil companies to meet and
21
     communicate between each other and among themselves.
22

23        7. In November of 2016, OPEC and Russia agreed to limit the production and sale of

24   oil and gasoline in an effort to increase prices. They maintained this agreement until March
25   of 2020.
26
          8. On Thursday March 5, 2020, OPEC (principally Saudi Arabia) and Russia met in
27
     Vienna for the purpose of renewing the production limitation agreement of 2016, which
28

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 3 of 25



1    would run out on March 31, 2020. At the meeting in Vienna, Russia complained that by
2    reason of the OPEC+ production limitation agreement, American oil producers, principally
3
     the new shale oil producers, had been able to undercut Russia, capture some of Russia’s
4
     market share, and establish the United States as the number one producer of oil in the world.
5
          9. On the next day, Friday, March 6, 2020, Russia refused to renew the production
6

7    agreement with Saudi Arabia, and walked out of the meeting.

8         10. On the next day, Saturday, March 7, 2020, Saudi Arabia, in retaliation against

9    Russia, announced plans to slash oil prices and increase production.
10        11. On Sunday, March 8, 2020, Saudi Arabia increased its production as the first step
11
     in an effort to produce more oil than it had ever done before.
12
          12. On Monday, March 9, 2020, oil prices plunged 24% in the largest drop in more
13
     than three decades.
14

15        13. By reason of the actions of both Russia and Saudi Arabia to produce as much oil as

16   they could, a world-wide price war broke out, and prices for oil and gasoline began to drop

17   precipitously.
18
          14. On Tuesday, March 10, 2020, the CEO of API, Mike Sommers, shocked by the
19
     price war, told Bloomberg that the major U.S. oil companies wanted to stabilize the oil
20
     prices by “balancing the oil market.” Mr. Sommers said, “What we have here is . . . a
21
     supply shock because of the decision by Russia and the Saudis to flood the market with oil.”
22

23   Sommers continued, “Ultimately the solution here is to work in a diplomatic way to make

24   sure that oil markets are well balanced.” “The group’s focus is on balancing the oil
25   market.” API and its members intended to do whatever was necessary to stabilize oil prices.
26
          15. In furtherance of their objective to stabilize prices and stop the price war between
27
     Saudi Arabia and Russia, which was requiring members of API to compete with lower
28

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                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 4 of 25



1    prices, the CEO of API, at the specific instigation of the major oil company Defendants,
2    contacted the White House to seek a meeting with the former President of the United States,
3
     Donald J. Trump.
4
          16. Because of the price war between Russia and Saudi Arabia, the major U.S. oil
5
     company Defendants were forced to compete and lower their prices for oil and gasoline.
6

7    However, in an attempt to prevent further erosion and decreases in the price of oil and

8    gasoline, the major U.S. oil company Defendants agreed to take any surplus oil off the

9    market, cut their production, and substantially reduce their investment in exploration and
10   production.
11
          17. Consequently, on March 24 and 25, 2020, in furtherance of their combination and
12
     conspiracy to cut production and raise the price of oil and gasoline, major oil companies
13
     announced that they would cut their production of oil. But these reductions were not
14

15   enough.

16        18. Notwithstanding the efforts by the U.S. major oil company Defendants to stabilize

17   and “balance the oil market,” the continuing price war between Saudi Arabia and Russia,
18
     was substantially affecting prices in the United States. Russia and Saudi Arabia continued
19
     to produce large volumes of oil, and prices continued to fall.
20
          19. On March 31, 2020, Saudi Arabia reported that it had achieved the largest
21
     production of oil in its history - more than 12.3 billion barrels per day. Saudi Arabia
22

23   celebrated the event.

24        20. On the very next day, Wednesday, April 1, 2020, because of the price war and the
25   increased production by Saudi Arabia and Russia, the former President Donald J. Trump,
26
     hailed the reduction of oil and gasoline prices, and the benefits of the free market system:
27
                   “…and now, gasoline is going to be 99 cents a gallon and less. You know that.
28                 That’s already starting. It’s popping up. 99 cents. So that’s like giving a

                                                    4
                                Complaint for Violation of the Sherman Act
          Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 5 of 25



1                 massive tax cut to the people of our country.”
2             Former President Trump continued,
3
                      “The free market is a wonderful thing. It’s amazing how it can work.”
4

5         21. In addition, and on a roll, the former President, Donald J. Trump, wanted to take
6    advantage of the low oil prices on behalf of the United States itself, stating that he could
7
     now buy oil at $20/barrel, or less, to fill the reserves of the United States. He later
8
     instructed the Secretary of Energy, Dan Brouillette, to do so. The Secretary agreed to do as
9
     the President said. However, he was made aware of the objectives of the oil company
10

11   Defendants and API and instead of purchasing the oil at low prices for the United States, he

12   simply took the Defendants’ excess oil off the market and stored it in the Strategic

13   Petroleum Reserve (SPR) in order to eliminate available supply.
14
          22. After contacts with some of the Defendant oil companies, and API, the former
15
     President agreed to meet with them to discuss the price war. The attitude of former
16
     President Trump with regard to the very favorable results of the free market and the free
17
     enterprise system by reason of the Saudi and Russia price war, changed dramatically and
18

19   turned toward seeking an agreement with Saudi Arabia and Russia to stop the price war

20   between them so that prices could be raised for oil and gasoline.
21        23. On either the afternoon of Wednesday, April 1, 2020, or on Thursday, April 2,
22
     2020, former President Trump, at the request of the Defendants, spoke with Vladimir Putin
23
     and with the Crown Prince of Saudi Arabia in an effort to stop the price war.
24
          24. On the next day, Thursday April 2, 2020, after his conversations with Saudi Arabia
25

26   and Russia, the former President tweeted:

27                “Just spoke to my friend MBS (Crown Prince) of Saudi Arabia, who spoke
                  with President Putin of Russia, & I expect & hope that they will be cutting back
28                approximately 10 Million Barrels, and maybe substantially more which, if it

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 6 of 25



1                happens, will be GREAT for the oil & gas industry! ...Could be as high as 15
                 Million Barrels. Good (GREAT) news for everyone!”
2

3         25. On the next day, Friday, April 3, 2020, the former President met with the CEOs of

4    the Defendants and others in the Cabinet Conference Room in the White House. The people

5    who were present were as follows:
6         a)     The former President of the United States, Donald J. Trump;
7
          b)     The American Petroleum Institute (API), by its Chief Executive Officer,
8
                 Mike Sommers;
9
          c)     Exxon Mobil Corporation, by its Chairman and Chief Executive
10

11               Officer, Darren Woods;

12        d)     Chevron Corporation, by its Chairman and Chief Executive Officer,

13               Michael Wirth;
14
          e)     Phillips 66 Company, by its Chairman and Chief Executive Officer,
15
                 Greg Garland, who was to later serve as the CEO of API;
16
          f)     Occidental Petroleum, by its President and Chief Executive Officer,
17
                 Vicki Hollub;
18

19        g)     Devon Energy Corporation, by its President and Chief Executive

20               Officer, David Hager;
21        h)     Continental Resources, Inc., by its Chairman of the Board of Directors,
22
                 Harold Hamm;
23
          i)     Hilcorp Energy Founder and Chairman, Jeff Hildenbrand;
24
          j)     Energy Transfer Partners, by its Executive Chairman, Kelcy Warren;
25

26        k)     The United States Secretary Department of Interior, by David

27               Bernhardt;

28

                                                     6
                                 Complaint for Violation of the Sherman Act
          Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 7 of 25



1         l)      The United States Secretary Department of Energy, by Dan Brouillette;
2                 and
3
          m)      The Office of the U.S. Trade Representative, by Trade Representative,
4
                  Robert Lighthizer.
5
          Others who were present at the introductory part of the meeting before the secret
6

7         meeting were:

8         n)       Kevin McCarthy, United States Representative [R] California;

9         o)      John Cornyn, United States Senator [R] Texas;
10        p)      Ted Cruz, United States Senator [R] Texas; and
11
         q)       Dan Sullivan, United States Senator [R] Alaska.
12

13
          26. Before the secret part of the former President’s meeting with the CEOs of the
14

15   Defendants, and API, the President advised the CEOs that he would tell them about the

16   specifics of his conversations with the Crown Prince of Saudi Arabia and President

17   Vladimir Putin of Russia, in his effort to act as the facilitator to stop the price war so that the
18
     US producers could raise the price of oil and gasoline.
19
          27. After the secret meeting with the Defendant oil companies, the CEO of API, Mr.
20
     Sommers, stated that the price war between Russia and Saudi Arabia, and the consequent
21
     excess supply of oil, were the principal subjects of the meeting.
22

23        28. As a result of the meeting, it was understood that if the price war were stopped, the

24   Defendants would increase their prices for oil and gasoline.
25        29. On the following Monday and Tuesday, April 6 and 7, 2020, news articles
26
     appeared in the Wall Street Journal and the New York Times, stating that Saudi Arabia and
27
     Russia, as a condition of calling off the price war, required that the countries of North
28

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 8 of 25



1    America (the United States, Canada and Mexico), must also agree to cut production.
2         30. On Thursday, April 9, 2020, former President Trump signaled that there would be
3
     a reduction in domestic production when he tweeted: “[T]here is so much production, no-
4
     one knows what to do with it.”
5
          31. As a “signal” to Saudi Arabia and Russia, that the United States itself would
6

7    cooperate in reducing the available oil supply on the market, Secretary of Energy, Mr.

8    Brouillette, “opened the Strategic Petroleum Reserve (SPR) to store excess oil from the U.S.

9    producers. And I am pleased to report that crude oil deliveries of 21.3 million barrels to the
10   SPR have been completed, a positive signal for the crude oil markets.”
11
          32. Consequently, instead of filling the SPR with oil at very low prices for the benefit
12
     of the United States, the Department of Energy, in furtherance of the combination and
13
     conspiracy to withdraw oil supply from the market, simply stored over 20 million barrels of
14

15   the excess oil from the U.S. producers and took it off the market.

16        33. On the same day, Thursday, April 9, 2020, OPEC held an emergency meeting to

17   determine whether the price war would be called off. As a result of that emergency
18
     meeting, OPEC+ (Saudi Arabia and Russia) agreed to call off the price war and further
19
     agreed to cut the production of oil by 10 million barrels per day for at least a two-month
20
     period.
21
          34. API’s Sommers lauded the agreement as the result of “strong U.S. diplomacy and
22

23   reduced domestic production.” Mr. Sommers specifically stated that “this move will help

24   stabilize world oil markets.” The American oil companies had agreed to the demands of
25   Saudi Arabia and Russia. The cartel now included the Americans. It was, in effect and fact,
26
     OPEC++ (OPEC plus Russia plus America).
27
          35. On Friday, April 10, 2020, at the G-20 meeting, it was made clear by Russian
28

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                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 9 of 25



1    President Vladimir Putin that everyone must reduce production of oil. He said that his
2    country made a deal with OPEC and the United States. He said that a collective cut of 10
3
     million barrels a day would be needed to balance the market:
4
                  “We are all concerned about the way the situation is developing, everyone is
5                 interested in joint and—I’d like to stress it—coordinated actions to ensure long-
                  term market stability.”
6

7         36. At that same meeting, the former Secretary of Energy for the United States, Dan

8    Brouillette, made the following statement, admitting that he actively participated in reducing

9    oil supply by taking surplus oil off the market:
10                “Speaking for my own country, the United States …. We estimate by the end
11                of this year, U.S. production will see a reduction of nearly 2 million barrels per
                  day. Some models show even more dramatic figures. For example, up to 3
12                million barrels per day.
                  ***
13                “For full recovery to recur, we must stabilize world energy markets by putting
                  an end to this dangerous price decline.”
14
                  ***
15                “We call on all nations to use every means at their disposal to help reduce
                  surplus.”
16                ***
                  “For our part, the United States is taking action to open our Strategic Petroleum
17                Reserve to store as much oil as possible. This will take surplus oil off the
                  market at a time when commercial storage is filling up and the market is
18
                  oversupplied.”
19                ***
                  “And we will look for more opportunities to ease the hurt felt by our
20                producers.”
                  ***
21                “We want to restore price stability . . .”
22

23        37. Thus, the American oil companies agreed to cut production by 2 million barrels per

24   day (or 3 million barrels per day) by the end of the year as a quid pro quo for the cessation
25   of the price war, just as Russia and Saudi Arabia had demanded. In addition, the Secretary
26
     of Energy aided and abetted the Defendants’ conspiracy by storing and taking off the market
27
     more than 20 million barrels of their oil in the Strategic Petroleum Reserve (SPR).
28

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                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 10 of 25



1         38. By Easter Sunday, April 12, 2020, the deal was done. Competition in the oil
2    industry was eliminated. The former President and Secretary of Energy were facilitators.
3
     There was no authority to extend any immunity whatsoever because there was no
4
     Congressional sanction for any of this conduct to fix prices, which would be required as a
5
     matter of law. See, United States v. Socony Vacuum Oil Co. Inc., 310 U.S. 150 (1940).
6

7         39. Prices for oil and gasoline now began their steady rise by the summer and would

8    increase from 99 cents (or lower) to over $7 per gallon within two years.

9         40. From the beginning of the conspiracy and as an integral part of its success, the plan
10   of the Defendant oil companies and API was to cajole and persuade former President Trump
11
     into abandoning any notion of the free enterprise principles, and, instead, to convince his
12
     “friends” Vladimir Putin of Russia and the Crown Prince of Saudi Arabia to end their price
13
     war, and to commit to a substantial reduction of their production so that the prices for oil
14

15   and gasoline could increase to the substantial benefit of all producers, and to the substantial

16   and catastrophic detriment of all consumers, and others who rely on oil and gasoline in their

17   businesses, including, commuters, vacationers, and citizens just driving to the store.
18
          41. These oil company Defendants are no strangers to agreements with their
19
     competitors to eliminate supply in order to increase prices. They have abused their size on
20
     numerous occasions. For example, in 1928 under the so-called “As-Is Agreement,” which
21
     none of them signed, but which all of them adhered to, the object was to cut production and
22

23   to take excess supply off the market in order to raise prices. In 1935, they did the same

24   thing again, and were criminally convicted for it. United States v. Socony Vacuum Oil Co.
25   Inc., 310 U.S. 150 (1940).
26
          42. The Defendants used the former President of the United States as a facilitator - see
27
     Congressional testimony of Daniel Brouillette - to obtain agreement from Saudi Arabia and
28

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                                  Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 11 of 25



1    Russia to cut oil production, along with the American Defendants. The acknowledged
2    effect of these cuts was to increase the price of oil and gasoline.
3
             43. Thus, the Defendant American Oil Companies agreed among themselves, and with
4
     Saudi Arabia and Russia, to cut the production of oil, to remove and store excess oil supply,
5
     to limit future exploration and production of oil, and to stop the price war that had erupted
6

7    between Saudi Arabia and Russia, all for the purpose and with the intended effect to raise

8    the price of oil and gasoline and other fuels in the United States and elsewhere.

9            44. By reason of these agreements, the price of oil and gasoline was substantially
10   increased, just as the Defendants and co-conspirators had anticipated. Moreover, because of
11
     the importance of fuel prices in the economy of the United States, a 50% contributor to
12
     inflation, the Defendants and co-conspirators reasonably foresaw that their agreement would
13
     ignite the fire of inflation throughout the country. In the absence of these agreements, the
14

15   price of oil and the price of gasoline would be substantially less than what they have

16   become as a result of these agreements, and inflation would have been far less, if non-

17   existent.
18
             45. This is a private antitrust suit brought under Sections 4 and 16 of the Clayton
19
     Antitrust Act (15 U.S.C. §§ 15, 26) for actual and potential damages caused by, and for
20
     injunctive relief, including divestiture and disgorgement, made necessary by, the
21
     Defendants’ past, present and threatened continuing violations of Sections 1 and 2 of the
22

23   Sherman Antitrust Act (15 U.S.C. §§ 1, 2), and the substantial elimination of competition by

24   reason of the Defendants violation of the Section 7 of the Clayton Antitrust Act (15 U.S.C.
25   §18).
26
             46. Plaintiffs seek damages caused by reason of these violations and, in addition, seek
27
     injunctive relief, including divestiture and disgorgement, against this conduct as it continues
28

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                                   Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 12 of 25



1    to substantially threaten injury and ongoing damage to the Plaintiffs and to many others who
2    rely upon fuel in their businesses and in their daily lives.
3
          47. Once the American Oil Defendants had met with former President Trump on April
4
     3, 2020, they succeeded in convincing the former President to change his mind about the
5
     benefits to the American economy of low-priced oil, and convinced him, contrary to the
6

7    interests of consumers, farmers, small businesses, and others, to support higher oil prices

8    and to initiate inflation. Former President Trump, in support of the American oil

9    companies, and in order to prop up the price of oil, made direct calls to Mohammed bin
10   Salman, the Crown Prince of Saudi Arabia, and Vladimir Putin, President of Russia,
11
     wherein the former President with the advice, consent, and prodding of the American oil
12
     companies promised that the American oil companies would reduce their production of oil
13
     to meet the oil production limitations pledged by Russia and Saudi Arabia, all with the
14

15   purpose and intent of raising the price of oil and gasoline and other fuels “to restore price

16   stability” in the United States and indeed worldwide.

17        48. The OPEC++ deal was initially stalled by Mexico, but repeated calls between
18
     former President Trump and Mexican President Andrés Manuel López Obrador, as well as
19
     Saudi Crown Prince Mohammed bin Salman and Russian President Vladimir Putin,
20
     succeeded in finalizing the agreement. The former President of the United States, with the
21
     consent of the Defendant American Oil companies, promised to reduce production in the
22

23   United States by some 250,000 to 300,000 barrels of oil a day in order to help Mexico reach

24   the 400,000 barrel a day reduction demanded by Saudi Arabia and Russia.
25        49. By reason of these agreements, the price for a barrel of oil has substantially risen
26
     from less than $20.00 per barrel to over $100.00 per barrel.
27
          50. By reason of these agreements, the price of a gallon of gasoline has risen from the
28

                                                    12
                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 13 of 25



1    former President’s acknowledged “99 cents per gallon and lower” to over $4.00 per gallon
2    for regular and $5.00 for premium, and now approaching $6.00 or $7.00 per gallon, all as
3
     intended by the co-conspirators. The fact that the price of a gallon of gasoline would
4
     continue to increase substantially was predicted by Harold Hamm, Chairman and CEO of
5
     Continental Resources, and by the former President, Donald J. Trump, in November of
6

7    2020.

8         51. As a consequence of these increases that have resulted from the Defendants’

9    agreement to cut production and join the agreements with Saudi Arabia and Russia, any
10   company that purchased oil or gasoline or fuel on the basis of dollars per barrel the damage
11
     since March and April of 2020 to today is at least $80.00 per barrel.
12
          52. For any person who purchased gasoline on the basis of dollars per gallon, the
13
     damage since March and April of 2020 to today is at least $3.00 to $6.00 per gallon.
14

15        53. Because of the Defendants’ price fixing, each of the Defendants announced the

16   largest profits that they ever had in their history. It was also revealed that they paid no

17   taxes, and indeed some of them are entitled to rebates.
18
          54. Under the principle that “a wrongdoer cannot profit by its own wrongdoing,” the
19
     Defendants’ profits flowing from the combination and conspiracy must be disgorged.
20
          55. The Supreme Court on many occasions has stated that “size carries with it the
21
     opportunity for abuse which is not to be ignored when it is shown to have been utilized in
22

23   the past.” The Defendants’ abuse of their size in this case cannot be ignored. Consequently,

24   in order to ensure that the Defendants cannot profit by their own wrongdoing, orders of
25   disgorgement must issue.
26
          56. Also, in order to restore competition among oil companies in the United States,
27
     orders of divestiture must issue that separate Exxon from Mobil; Chevron from Texaco,
28

                                                    13
                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 14 of 25



1    Phillips from Conoco; and any acquisitions or mergers by Occidental Petroleum, Devon
2    Energy, Energy Transfer LP, Hilcorp Energy Company, and Continental Resources done
3
     either in 2018 and 2019. These unlawful acquisitions have contributed substantially to the
4
     ease with which these companies entered into the combination and conspiracy in 2020.
5
          57. Because of the violations alleged, the Defendant oil companies have complete
6

7    control over the oil industry in the United States. As one example of their power to fix

8    prices and exclude competition is the following chart which demonstrates that the

9    Defendants are now charging high prices for gasoline that do not even have any relationship
10   to the descending price of crude oil.
11

12

13

14

15

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25

26
          58. Because of these artificial and conspiratorial increases, and because fuel prices
27

28   make up as much as 50% of the rate of inflation from March of 2020 to the present, the

                                                   14
                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 15 of 25



1    economy of the United States has been encumbered by a substantial increase in the price of
2    other commodities and services dependent directly or indirectly upon the cost of fuel,
3
     including food, clothing, transportation, manufacturing, distribution and retail services.
4
          59. By reason of the unlawful combination and conspiracies of the American oil
5
     company Defendants, the National and California average retail prices increased
6

7    substantially over the last two years, as noted below.

8                          Retail Gas Price Averages -
                                California & USA
9                                                                            USA
                                                        CA Retail            Retail
10
                                 Date                    Price               Price
11                          April 30, 2020               $2.82               $1.77
                            May 31, 2020                 $2.77               $1.96
12
                            June 30, 2020                $2.97               $2.12
13                          July 31, 2020                $3.10               $2.17
                           August 31, 2020               $3.16               $2.18
14
                         September 30, 2020              $3.17               $2.16
15                        October 31, 2020               $3.14               $2.14
                         November 30, 2020               $3.12               $2.12
16
                         December 31, 2020               $3.14               $2.24
17                        January 31, 2021               $3.26               $2.39
18                        February 28, 2021              $3.43               $2.63
                           March 31, 2021                $3.78               $2.86
19                        February 28, 2021              $3.43               $2.87
20                         March 31, 2021                $3.78               $2.85
                            April 30, 2021               $3.91               $2.87
21                          May 31, 2021                 $4.06               $3.02
22                          June 30, 2021                $4.18               $3.09
                            July 31, 2021                $4.25               $3.13
23
                           August 31, 2021               $4.31               $3.14
24                       September 30, 2021              $4.31               $3.17
                          October 31, 2021               $4.40               $3.38
25
                         November 30, 2021               $4.59               $3.39
26                       December 31, 2021               $4.59               $3.27
27                        January 31, 2022               $4.58               $3.32
                          February 28, 2022              $4.66               $3.60
28                         March 21, 2022                $5.85               $4.25
                                                   15
                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 16 of 25



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20        60. In the absence of these alleged agreements, the price of oil and gasoline would be

21   substantially less than it was in April of 2020, and inflation would be substantially lower, if
22   non-existent, at the present time.
23
                                           JURISDICTION
24
          61. This Court has subject matter jurisdiction of the federal antitrust claims asserted in
25
     this action under 15 U.S.C. §§ 15 and 26, and 28 U.S.C. §§ 1331 and 1337.
26

27        62. Plaintiffs have paid more for gasoline to Defendants than they would have paid in a

28   competitive market within the United States.

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 17 of 25



1         63. The Court has personal jurisdiction over the Defendants because all Defendants are
2    domiciled and/or are found within the United States, and venue is proper in this District
3
     under 15 U.S.C. § 22, and under 28 U.S.C. § 1391. Defendants transact business and are
4
     found within this District.
5
          64. Defendants have engaged in, and their activities have substantially affected the
6

7    interstate and foreign trade and commerce of the United States. Defendants all provide a

8    range of products and services that are intentionally marketed, distributed, sold, and offered

9    to consumers throughout the fifty states and across state lines and in foreign countries.
10        65. The restraints alleged in this Complaint affect and are a burden on the free and
11
     open trade between and among the States of the United States and the trade and commerce
12
     between and among the United States and foreign nations.
13
                                              THE PARTIES
14

15        66. Each of the following Plaintiffs named below is an individual and a citizen of the

16   State listed as the address for each such Plaintiff, and in the four years prior to the filing of

17   this action, each Plaintiff was a consumer of gasoline:
18

19                Rosemary D’Augusta, Burlingame, CA
                  Brenda Davis, Dallas, TX
20                Pamela Faust, Cincinnati, OH
                  Carolyn Fjord, Sacramento, CA
21                Donald C. Freeland, Cincinnati, OH
                  Donald Frye, Colorado Springs, CO
22
                  Gabriel Garavanian, Boston, MA
23                Valarie Jolly, Dallas, TX
                  Michael Malaney, Grand Rapids, MI
24                Lenard Marazzo, Reno, NV
                  Lisa McCarthy, Naples, FL
25                Timothy Nieboer, Kalamazoo, MI
26                Deborah Pulfer, Sidney, OH
                  Bill Rubinsohn, Philadelphia, PA
27                Sondra Russell, Waco, TX
                  June Stansbury, Reno, NV
28

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                                   Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 18 of 25



1                 Clyde Duane Stensrud, Seattle, WA
                  Gary Talewsky, Boston, MA
2                 Pamela Ward, Holmes Beach, FL
3                 Christine M Whalen, New Orleans, LA
                  Mary Katherine Arcell, New Orleans, LA
4                 Jose Brito, Reno, NV
                  Jan-Marie Brown, Reno, NV
5                 Jocelyn Gardner, Colorado Springs, CO
6

7         67. Plaintiffs are consumers of gasoline, and each has purchased gasoline from

8    Defendants’ company-owned stores and/or other gas stations that have distributed gasoline

9    produced by Defendants, and/or their co-conspirators, and they have been harmed and
10   continue to be threatened with harm and damage in that they have been deprived of price
11
     competition that they otherwise would have enjoyed but for the Defendants’ anticompetitive
12
     agreement to reduce the production of oil in order to raise the price of oil and gasoline.
13
          68. Plaintiffs have both directly and indirectly paid Defendants and/or the co-
14

15   conspirators for gasoline whose prices have been inflated by the Defendants’ conspiracy.

16        69. Defendant American Petroleum Institute (API) is a non-profit trade association,

17   and is a non-profit corporation organized and existing under the laws of the District of
18
     Columbia. It is headquartered in Washington DC. It is comprised of members who are
19
     engaged in the production, distribution and sale of oil. API served as a forum and a
20
     facilitator whereby they have the opportunity and use that opportunity to conspire against
21
     the public and have contrived means to raise prices. In this case, they did just that.
22

23        70. The Chairman of API from 2018 to 2020 was Darren Woods, the Chairman and

24   Chief Executive Officer of Exxon Mobil.
25        71. The Chairman of API from 2020 to 2022 was Greg Garland, Chairman and Chief
26
     Executive Officer of Phillips 66.
27
          72. The Chairman of API from January 2022 to present is Michael Wirth, Chairman
28

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 19 of 25



1    and Chief Executive Officer of Defendant Chevron. Each of these executives also served on
2    the executive committee of API, and had the opportunity and used this opportunity to
3
     stabilize prices.
4
          73. Defendant Exxon Mobil Corporation is a corporation organized and existing under
5
     the laws of the State of New Jersey. It is the largest oil and gas production company in the
6

7    world. It is headquartered in Irving, Texas. Exxon revenue for the twelve months ending

8    December 31, 2021, was $285 billion, a 57% increase year-over-year. Exxon gross profit

9    for the twelve months ending December 31, 2021, was $55 billion, a 78% increase year-
10   over-year. Defendant Exxon Mobil is one of the successor companies of Standard Oil
11
     Company after the mandated break up in 1911 by the Supreme Court of the United States in
12
     Standard Oil Co. of New Jersey v. United States, 221 U.S. 1 (1911).
13
          74. Defendant Chevron Texaco Capital Corporation is a corporation organized and
14

15   existing under the laws of the State of California. It is headquartered in San Ramon,

16   California. Chevron revenue for the twelve months ending December 31, 2021, was $162

17   billion, a 72% increase year-over-year. Chevron gross profit for the twelve months ending
18
     December 31, 2021, was $95 billion, a 140% increase year-over-year. Defendant Chevron
19
     is one of the successor companies of Standard Oil Company after the mandated break up in
20
     1911 by the Supreme Court of the United States in Standard Oil Co. of New Jersey v.
21
     United States, 221 U.S. 1 (1911).
22

23        75. Defendant Phillips 66 Company is a corporation organized and existing under the

24   laws of the State of Delaware. It is headquartered in Houston, Texas. Phillips 66 revenue
25   for the twelve months ending December 31, 2021, was $111 billion, a 74% increase year-
26
     over-year. Phillips 66 gross profit for the twelve months ending December 31, 2021,
27
     was $9.4 billion, a 46% increase year-over-year. Defendant Phillips 66 Company was
28

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                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 20 of 25



1    formerly ConocoPhillips which was a spin-off of Standard Oil Company after the mandated
2    break up in 1911 by the Supreme Court of the United States in Standard Oil Co. of New
3
     Jersey v. United States, 221 U.S. 1 (1911).
4
          76. Defendant Occidental Petroleum Corporation is a corporation organized and
5
     existing under the laws of the State of Delaware. It is headquartered in Houston, Texas.
6

7    Defendant Occidental Petroleum Corporation is an American company engaged in

8    hydrocarbon exploration in the United States. Occidental Petroleum revenue for the twelve

9    months ending September 30, 2021, was $22.2 billion, almost a 10% increase year-over-
10   year. Occidental Petroleum gross profit for the twelve months ending September 30, 2021,
11
     was $13.1 billion, a 15% increase year-over-year.
12
          77. Defendant Devon Energy is a corporation organized and existing under the laws of
13
     the State of Delaware. It is headquartered in Oklahoma City, Oklahoma. Defendant Devon
14

15   Energy is an independent energy company engaged primarily in the exploration,

16   development and production of oil, natural gas and natural gas liquids. Devon Energy

17   revenue for the twelve months ending December 31, 2021, was $11 billion, a 147%
18
     increase year-over-year. Devon Energy gross profit for the twelve months ending
19
     December 31, 2021, was $9.8 billion, a 163% increase year-over-year.
20
          78. Defendant Continental Resources Inc. is a corporation organized and existing
21
     under the laws of the State of Oklahoma. Defendant Continental Resources Inc. is an
22

23   American petroleum and natural gas exploration and production company. It is

24   headquartered in Oklahoma City, Oklahoma. Continental Resources revenue for the twelve
25   months ending December 31, 2021, was $5.7 billion, a 121% increase year-over-year.
26
          79. Defendant Energy Transfer LP is a company engaged in natural gas and propane
27
     pipeline transport. It is organized under the laws of the State of Delaware and
28

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                                Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 21 of 25



1    headquartered in Dallas, Texas. Energy Transfer LP’s revenue for the twelve months
2    ending September 30, 2021, was $58.8 billion, a 38% increase year-over-year. Energy
3
     Transfer LP’s annual gross profit for 2020 was $13.5 billion.
4
          80. Defendant Hilcorp Energy Company is a corporation organized and existing under
5
     the laws of the State of Texas. Defendant Hilcorp Energy Company is one of the largest,
6

7    privately held oil and gas exploration and production companies in the United States.

8         81. Various persons, partnerships, firms, and corporations not named as Defendants in

9    this lawsuit, and individuals, the identities of which and who are presently unknown, have
10   participated as co-conspirators with Defendants in the offenses alleged in this Complaint,
11
     and have performed acts and made statements in furtherance of the illegal contracts,
12
     combinations, and conspiracies. When and if these persons are discovered, the Plaintiffs
13
     may seek to amend the Complaint to include them as co-conspirators.
14

15                                   VIOLATIONS ALLEGED

16                                       First Claim for Relief

17    An Agreement to Reduce Production of Oil in Violation of the Sherman Antitrust Act § 1

18        82. Plaintiff incorporates the allegations of paragraphs 1 through 81 above.
19
          83. The Defendants combined and conspired to fix and stabilize prices by agreeing to
20
     reduce production, store surplus oil, and engage in other acts designed for the purpose and
21
     with the effect of increasing and stabilizing prices of oil and gasoline, all in per se violation
22

23   of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1.

24                                      Second Claim for Relief

25            Conspiracy to Monopolize in Violation of the Sherman Antitrust Act § 2

26
          84. Plaintiff incorporates the allegations of paragraphs 1 through 83 above.
27
          85. The Defendants have combined and conspired to suppress and eliminate actual and
28

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                                 Complaint for Violation of the Sherman Act
         Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 22 of 25



1    potential competition in the production and sale of oil and gasoline by agreeing to reduce
2    the production and to increase the price of oil and gasoline in the United States. The
3
     Defendants have combined and conspired to suppress and eliminate the actual competition
4
     between and among themselves and with Saudi Arabia and Russia in the production and
5
     sale of oil and gasoline.
6

7         86. By reason of their combination and conspiracy to cut production and raise the

8    prices of oil and gasoline, the Defendants exercised their power to fix prices and exclude

9    competition, and they did both as factually alleged above.
10        87. The Defendants’ anticompetitive practices violate Section 2 of the Sherman
11
     Antitrust Act, 15 U.S.C. § 2.
12
                                                Third Claim for Relief
13
                                  Anticompetitive Mergers and Acquisitions
14
          88. Plaintiff incorporates the allegations of paragraphs 1 through 87 above.
15
          89. The top three major oil companies in the United States, Exxon Mobil, Chevron
16

17   Texaco, and Phillips 66, are the result of the unlawful mergers or acquisitions. In each case,

18   the mergers and acquisitions substantially lessened competition and tended to create a
19   monopoly in the production, distribution and sale of oil and gasoline.
20
          90. As noted above, these three Defendants acted in combination to reduce production
21
     and to increase prices of oil and gasoline. In doing so, they achieved the status as a group to
22
     be able to fix prices and exclude competition. They have abused their size. They have
23

24   previously engaged in combinations and conspiracies to limit production and to increase

25   prices. They have a contumacious disregard of the antitrust laws, and have demonstrated by

26   the facts alleged above that they have no compunction about violating the law if and when it
27   pleases them to do so, and that they have repeatedly done so as an abuse of the size and
28
     power they have achieved as a result of these unlawful mergers.
                                                    22
                                 Complaint for Violation of the Sherman Act
           Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 23 of 25



1           91. As a consequence of these mergers and acquisitions and the ease with which The
2      Defendants cooperate with each other on matters that are clearly unlawful, it is necessary
3
       that they be required to split up into individual companies in an effort to restore competition
4
       in the oil industry.
5
                                         REQUEST FOR RELIEF
6

7           92. To remedy these illegal acts, Plaintiffs request that the Court find as follows:

8                   a.        Adjudge and decree that the alleged combination and conspiracy

9    between and among the Defendants, and the combination and conspiracy between and among
10   the Defendants, Saudi Arabia and Russia, are illegal combinations and conspiracies in
11
     violation of Section 1 of the Sherman Antitrust Act, in that they combined and conspired to
12
     cut production and raise prices;
13
                    b.        Adjudge and decree that the alleged combination and conspiracy
14

15   between and among the Defendants, and the combination and conspiracy between and among

16   the Defendants, Saudi Arabia and Russia are illegal combinations and conspiracies in violation

17   of Section 2 of the Sherman Antitrust Act, in that they achieved the unlawful power to exclude
18
     actual and potential competition and to fix prices and did so;
19
                    c.        Enter judgment in favor of Plaintiffs and against the Defendants and
20
     award Plaintiffs threefold the amount of the damages as awarded by the jury and award
21
     Plaintiffs their reasonable attorneys’ fees and costs, and any pre-judgment and post-judgment
22

23   interest as permitted by law;

24                  d.        Enjoin the Defendants from entering into any combination or
25   conspiracy to fix or stabilize prices, including any agreements or understanding to limit
26
     production, distribution or sale of oil or gasoline;
27

28

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                                     Complaint for Violation of the Sherman Act
           Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 24 of 25



1                   e.       Enjoin the Defendants from entering into any combination or
2    conspiracy with either Saudi Arabia or Russia, or both, to fix or stabilize prices, including any
3
     agreements or understanding to limit production, distribution or sale of oil or gasoline;
4
                    f.       Require the Defendants to disgorge the profits earned from their
5
     violations of Sections 1 and 2 of the Sherman Antitrust Act, the amounts of which can be
6

7    determined by the jury;

8                   g.       Enter any other preliminary or permanent injunctive relief necessary

9    and appropriate to restore competitive conditions in the markets affected by the Defendants’
10   unlawful conduct; and
11
                    h.       Enter an order requiring that Exxon be divested of Mobil; Chevron be
12
     divested of Texaco; Phillips 66 be divested of Conoco; and that all of them be split up into
13
     individual companies as made necessary to restore competition in the oil industry;
14

15                  i.       Enter any additional relief the Court finds just and proper.

16                                   DEMAND FOR JURY TRIAL

17          Plaintiff demands a trial by jury as its right under the Seventh Amendment to the
18
     Constitution of the United States or as given by statute. Fed. R. Civ. P. 38.
19
     Dated: March 28, 2022                     ALIOTO LAW FIRM
20

21

22
                                          By: /s/ Joseph M. Alioto
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24
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25                                            One Sansome Street, Suite 3500
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26                                            Telephone: (415) 434-8900
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27

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                                   Complaint for Violation of the Sherman Act
          Case 4:22-cv-01979-JSW Document 1 Filed 03/28/22 Page 25 of 25



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                               Complaint for Violation of the Sherman Act
